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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA

v.                                                         CASE NO. 3:21-MJ-138-02

DIANA TOEBBE,

       Defendant.


                    MOTION TO CONTINUE DETENTION HEARING

       COMES NOW the Defendant, Diana Toebbe, by counsel, and moves the Court to

continue the detention hearing scheduled for October 15, 2021, at 11:00 a.m. In support thereof,

the Defendant states the following:

       1. The complaint in this action was filed on October 8, 2021.

       2. Mrs. Toebbe was arrested on October 9, 2021.

       3. On October 11, 2021, the United States filed a motion to detain Mrs. Toebbee.

       4. On October 12, 2021, Mrs. Toebbe made her initial appearance before the Court. At

that time, the Court temporarily detained Mrs. Toebbe and set a detention hearing for October

15, 2021, at 11:00 a.m. The Court also scheduled a preliminary hearing for October 20, 2021, at

1:00 p.m.

       5. On October 13, 2021, the Court appointed the undersigned counsel to represent Mrs.

Toebbe.

       6. After consulting with Mrs. Toebee, the undersigned counsel have determined that they

need additional time to prepare for her detention hearing. Specifically, the undersigned counsel

are requesting that the Court continue her detention hearing to the same day of her preliminary

hearing.
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        7. The United States does not object to continuing Mrs. Toebbe’s detention hearing.

        WHEREFORE, the Defendant respectfully requests that the Court continue her detention

hearing to October 20, 2021, at 1:00 p.m.

                                                    DEFENDANT
                                                    BY COUNSEL

/s/ Barry P. Beck
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                                   CERTIFICATE OF SERVICE

        I, Barry P. Beck, counsel for Defendant, hereby certify that on the 13th day of October,

2021, the foregoing MOTION TO CONTINUE DETENTION HEARING was electronically

filed with the Clerk of the Court using the CM/ECF system, which will send notification of such

filing to all counsel of record.

                                                    /s/ Barry P. Beck
                                                    Barry P. Beck




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